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              EXHIBIT B
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Charted Claims:
Method Claims: 1
Non-Method Claims:
           US6819539                                                 HTC U11 (“The Accused Product”)
 1. A method for circuit recovery   The accused product discloses a method for circuit recovery from overstress conditions (e.g., deviation of
 from overstress conditions,        voltage from its normal values).
 comprising the steps of:
                                    As shown below, the HTC U11 utilizes a Qualcomm Snapdragon 835 processor.
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https://web.archive.org/web/20180226131131/http://www.htc.com/us/smartphones/htc-
u11/buy#!carrier=unlocked&color=red




https://www.htc.com/us/smartphones/htc-u11/
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https://www.gsmarena.com/htc_u11-8630.php

As shown below, the Snapdragon 835 includes a battery monitoring circuit that generates a signal based
upon the occurrence of a certain condition (in this case voltage variances for normal values).




https://www.qualcomm.com/products/snapdragon-835-mobile-platform
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https://www.qualcomm.com/media/documents/files/snapdragon-835-mobile-platform-product-brief.pdf
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https://pastebin.com/U0i7nP4P
                          Case 2:20-cv-01850 Document 1-2 Filed 12/28/20 Page 7 of 28




                          https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
                          nougat/drivers/power/battery_current_limit.c




                          https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-asus-3.10-nougat-mr1-wear-
                          release/include/linux/qpnp/qpnp-adc.h

(A) detecting an event;   The accused product discloses detecting an event (e.g., detecting if state is high or low).
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https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
nougat/drivers/power/battery_current_limit.c
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https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
nougat/drivers/power/battery_current_limit.c
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 As shown below, the Snapdragon 835 includes a battery monitoring circuit that generates a signal based
 upon the occurrence of a certain condition (in this case voltage variances from normal values).




 https://www.qualcomm.com/products/snapdragon-835-mobile-platform




 https://www.qualcomm.com/media/documents/files/snapdragon-835-mobile-platform-product-brief.pdf
Case 2:20-cv-01850 Document 1-2 Filed 12/28/20 Page 11 of 28




 https://pastebin.com/U0i7nP4P
                          Case 2:20-cv-01850 Document 1-2 Filed 12/28/20 Page 12 of 28




                           https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
                           nougat/drivers/power/battery_current_limit.c




                           https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-asus-3.10-nougat-mr1-wear-
                           release/include/linux/qpnp/qpnp-adc.h

(B) storing said event;    The accused product discloses storing (e.g., storing in L2 cache) said event (e.g., if state is high or low).

                           As shown below, the Snapdragon 835 includes an L2 cache that stores voltage variance events.
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 https://www.androidauthority.com/qualcomm-details-snapdragon-835-735688/
Case 2:20-cv-01850 Document 1-2 Filed 12/28/20 Page 14 of 28




 https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
 nougat/drivers/power/battery_current_limit.c
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 https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
 nougat/drivers/power/battery_current_limit.c
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(C) comparing said stored event      The accused product discloses comparing said stored event to a plurality of event types (e.g., the comparison
to a plurality of event types        of collected values with stored thresholds) stored in a table (e.g., a table containing various thresholds) to
stored in a table to determine if    determine if said event is a first predetermined type (e.g., when bcl_soc_state == BCL_LOW_THRESHOLD
said event is a first                OR bcl_vph_state == BCL_LOW_THRESHOLD) or a second predetermined type (e.g., when bcl_soc_state
predetermined type or a second       is not equal to BCL_LOW_THRESHOLD, bcl_vph_state is not equal to BCL_LOW_THRESHOLD and
predetermined type; and              bcl_ibat_state is not equal to BCL_HIGH_THRESHOLD).




                                     https://android.googlesource.com/kernel/msm/+/android-7.1.0_r0.2/Documentation/arm/msm/rpm.txt
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 https://www.slideshare.net/linaroorg/lcu14-210-qualcomm-snapdragon-power-management-unique-
 challenges-for-power-frameworks
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 https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
 nougat/drivers/power/battery_current_limit.c
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 https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
 nougat/drivers/power/battery_current_limit.c
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 https://pastebin.com/U0i7nP4P

 Threshold Values from the table (dtsi) are imported into the battery_current_limit module thru a record data
 type (bcl).
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 https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
 nougat/drivers/power/battery_current_limit.c

 The values of the table are now inside the record, bcl. The State of Charge low threshold is saved in a variable
 soc_low_threshold.
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 https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
 nougat/drivers/power/battery_current_limit.c




 https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
 nougat/include/linux/msm_bcl.h
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 https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
 nougat/drivers/power/battery_current_limit.c

 The new values of bcl_vph_state and bcl_ibat_state are compared against the threshold values from the
 table.
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(D) resetting a device when said    The accused product discloses resetting (e.g., cpu_down) a device when said event is a said first
event is a said first               predetermined type (e.g., when bcl_soc_state == BCL_LOW_THRESHOLD OR bcl_vph_state ==
predetermined type and              BCL_LOW_THRESHOLD) and providing recovery (e.g., cpu_up) when said event is a said second
providing recovery when said        predetermined type (e.g., when bcl_soc_state is not equal to BCL_LOW_THRESHOLD, bcl_vph_state is
event is a said second              not equal to BCL_LOW_THRESHOLD and bcl_ibat_state is not equal to BCL_HIGH_THRESHOLD).
predetermined type.




                                    https://android.googlesource.com/kernel/msm/+/android-7.1.0_r0.2/Documentation/arm/msm/rpm.txt
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 https://www.slideshare.net/linaroorg/lcu14-210-qualcomm-snapdragon-power-management-unique-
 challenges-for-power-frameworks




 https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
 nougat/drivers/power/battery_current_limit.c
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 https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
 nougat/drivers/power/battery_current_limit.c
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 https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
 nougat/drivers/power/battery_current_limit.c




 https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
 nougat/include/linux/msm_bcl.h
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 https://android.googlesource.com/kernel/msm/+/refs/heads/android-msm-angler-3.10-
 nougat/drivers/power/battery_current_limit.c
